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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ALEXIS WHITE,                                     Civil Action No.

     Plaintiff,

v.                                                JURY TRIAL DEMANDED

MILK AND HONEY At WESLEY
CHAPEL, LLC, and MICHAEL EPPS,
individually,
DEON LAMAR HARRISON,
individually, RASHEED DEVON L.
GREEN, and ROBERT PAUL
MCCADNEY JR. Individually

     Defendant.


                        COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Alexis White (hereinafter “Plaintiff”), by and

through undersigned counsel, and files this, her Complaint for Damages against

Defendant, MILK AND HONEY AT WESLEY CHAPEL, LLC, a Georgia

Corporation, and MICHAEL EPPS, Individually, DEON LAMAR HARRISON,

individually,       RASHEED DEVON L. GREEN,             and ROBERT PAUL

MCCADNEY JR. Individually (hereinafter “Defendants”), and respectfully shows

the Court as follows:
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                          I. NATURE OF COMPLAINT

                                               1.

      Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                               2.

      This action seeks declaratory relief, liquidated and actual damages for

Defendants’ failure to pay federally mandated overtime wages to Plaintiff in

violation of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §201, et

seq. (hereinafter “FLSA”) during Plaintiff’s employment with Defendant

(hereinafter referred to as the “relevant time period”).

                        II. JURISDICTION AND VENUE

                                               3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

                                               4.

      Venue is proper in this district pursuant to 29 U.S.C. § 1391(b) because the

above-referenced Defendants reside in this district.




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                                  III. PARTIES

                                             5.

      During Plaintiff’s employment with Defendants, and at all times material

hereto, Plaintiff was a resident of the State of Georgia and is subject to the

jurisdiction of this Court.

                                             6.

      Milk and Honey At Wesley Chapel, LLC is a Georgia Limited Liability

Corporation that resides in this district, does business, and is engaged in commerce

within the State of Georgia

                                             7.

      Milk and Honey At Wesley Chapel, LLC is now and, at all times relevant

hereto, has been a domestic corporation engaged in an industry affecting

commerce.

                                             8.

      Defendants, Milk and Honey At Wesley Chapel LLC, and Michael Epps,

may be served by delivering a copy of the summons and complaint upon its

Registered Agent, Michael Epps and is located at 3131 Robinwood Trail, Decatur,

GA 30034.




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                                               9.

         Defendant, Deon Lamar Harrison, may be served by delivering a copy of the

summons and complaint to 2644 Bluestone Drive SW, Atlanta, GA 30331.

                                               10.

         Defendant Rasheed Devon L. Green, may be served by delivering a copy of

the summons and complaint to 2255 Peachtree Road Ne, Unit #423 Atlanta, GA

30309

                                               11.

         Robert Paul McCadney, Jr., may be served by delivering a copy of the

summons and complaint to 5117 Rapahoe Trail, Atlanta, GA 30331

                                               12.

         Plaintiff is an “employee” of Defendants, as defined by the FLSA, 29

U.S.C.S. § 201 et seq., 29 U.S.C. § 203(e).

                                               13.

         Plaintiff performed non-exempt labor for Defendants within the last three (3)

years.




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                                              14.

        Defendants employed Plaintiff during the relevant time period.

                                              15.

        During the relevant time period, Plaintiff worked an amount of time that was

more than forty (40) hours per workweek and was not paid the overtime wage

differential.

                                              16.

        Defendants are a municipal employer engaged in interstate commerce, and

its gross revenues exceed $500,000.00 per year.

                                              17.

        Defendants are classified as an “employer” within the definition of FLSA

§3(d), 29 U.S.C. §203(d).

                                              18.

        During Plaintiff’s employment with Defendants, Defendants employed two

(2) or more employees which handled goods, materials, and supplied which

travelled in interstate commerce.

                                              19.

        Defendants are governed by and subject to FLSA §7, 29 U.S.C. §204 and

§207.




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                                             20.

      At all times relevant to this action, Michael Epps is an individual resident of

the State of Georgia who owns and operates, and who regularly exercised the

authority to: (a) hire and fire employees; (b) determine the work schedules for the

employees; and (c) control the finances and operations of Milk and Honey At

Wesley Chapel, LLC. By virtue of having regularly exercised that authority on

behalf of Milk and Honey At Wesley Chapel, LLC, Michael Epps is an employer

as defined by 29 U.S.C. § 201, et seq.

                                             21.

      At all times relevant to this action, Deon Lamar Harrison is an individual

resident of the State of Georgia who owns and operates, and who regularly

exercised the authority to: (a) hire and fire employees; (b) determine the work

schedules for the employees; and (c) control the finances and operations of Milk

and Honey At Wesley Chapel, LLC. By virtue of having regularly exercised that

authority on behalf of Milk and Honey At Wesley Chapel, LLC, Deon Lamar

Harrison is an employer as defined by 29 U.S.C. § 201, et seq.

                                             22.

      At all times relevant to this action, Rasheed Devon L. Green, is an individual

resident of the State of Georgia who owns and operates, and who regularly

exercised the authority to: (a) hire and fire employees; (b) determine the work


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schedules for the employees; and (c) control the finances and operations of Milk

and Honey At Wesley Chapel, LLC. By virtue of having regularly exercised that

authority on behalf of Milk and Honey At Wesley Chapel, LLC, Rasheed Devon L.

Green is an employer as defined by 29 U.S.C. § 201, et seq.

                                             23.

        At all times relevant to this action, Robert Paul McCadney Jr., is an

individual resident of the State of Georgia who owns and operates, and who

regularly exercised the authority to: (a) hire and fire employees; (b) determine the

work schedules for the employees; and (c) control the finances and operations of

Milk and Honey At Wesley Chapel, LLC. By virtue of having regularly exercised

that authority on behalf of Milk and Honey At Wesley Chapel, LLC, Robert Paul

McCadney Jr., is an employer as defined by 29 U.S.C. § 201, et seq.

                        IV. FACTUAL ALLEGATIONS

                                             24.

        Plaintiff originally began working at the Defendants on or around July 15,

2018, until July 18, 2019, at the Defendants’ Cascade location as a non-exempt

employee. Her hourly rate was $10.00.

                                             25.


        During this tenure, she worked at least thirty (30) hours of overtime per

week.
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                                                   26.


      Plaintiff was paid regular time in cash for any hours she worked over forty

(40) but not an additional half time as required by the FLSA.


                                                   27.

      After separating from the Defendants, she returned to the Defendants

working at the Wesley Chapel location in February 2021 until around May 2021 as

a non-exempt employee, with an hourly rate of $10.00.

                                                   28.

      Plaintiff worked about thirty (30) hours in total overtime for this period, but

was not paid any overtime.

                                                   29.

      Plaintiff was paid cash for regular pay for her 2018 – 2019 tenure.

                                                   30.

      During her second tenure from February 2021 through in or around May

2021, Plaintiff at the Defendants she worked at least 30 hours of total overtime.

Plaintiff was not paid at all for this overtime.

                                                   31.

       Plaintiff made Michelle, head of payroll, aware of issues of her not being

paid overtime on several occasions, but Michelle did nothing to correct this issue.

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                                             32.

       Defendants’ also deducted at least one (1) 30 minute break from Plaintiff’s

pay, but never got a break.

                              V. CLAIMS FOR RELIEF

                                     Count I

                Violation of the Overtime Wage Requirement of
                         the Fair Labor Standards Act


                                             33.

      Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                             34.

      Defendants have violated the FLSA, 29 U.S.C. § 201, et seq. including but

not limited to 29 U.S.C. § 207, by failing to pay overtime wages for hours Plaintiff

worked more than forty (40) hours in given workweeks and by forcing Plaintiff to

work off the clock without compensation.

                                             35.

      The FLSA, 29 U.S.C. § 207, requires employers to pay employees one and

one-half times the regular rate of pay for all hours worked more than 40 hours in a

workweek.


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                                             36.

      Defendants knowingly and willfully permitted Plaintiff to routinely work

more than 40 hours per week without overtime compensation.

                                             37.

      Defendants’ actions, policies and/or practices as described above violate the

FLSA’s overtime requirement due to their repeated failure to compensate Plaintiff

at the required overtime rate.

                                             38.

      Defendants have failed to accurately report, record and/or preserve records

of hours worked by Plaintiff, and thus have failed to make, keep and preserve

records with respect to each of their employees sufficient to determine their wages,

hours, and other conditions and practices of employment, in violation of the FLSA.

                                             39.

      Defendants’ violations of the FLSA were willful and in bad faith.

                                             40.

      Pursuant to the FLSA, 29 U.S.C. § 216, Plaintiff is entitled to recover the

unpaid overtime wage differential, liquidated damages in an equal amount to

unpaid overtime, attorneys’ fees, and the costs of this litigation incurred in

connection with these claims.




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                     VI. PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

(A)   Grant Plaintiff a trial by jury as to all triable issues of fact;

(B)   Enter judgment against Defendants, awarding Plaintiff unpaid wages

      pursuant to the FLSA, 29 U.S.C. §§ 206(d), 207, and 216, liquidated

      damages as provided by 29 U.S.C. § 216, pre-judgment interest on

      unpaid wages, court costs, expert witness fees, and reasonable

      attorneys’ fees pursuant to 29 U.S.C. § 216, and all other remedies

      allowed under the FLSA; and,

(C)   Grant declaratory judgment declaring that Plaintiff’s rights have been

      violated;

(D)   Grant Plaintiff leave to add additional state law claims if necessary;

      and

(E)   Award Plaintiff such further and additional relief as may be just and

      appropriate.


Respectfully submitted the 9th day of August, 2021.




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                            Respectfully submitted,

                            /s/ Jeremy Stephens
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